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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 9:21-cv-81270-DMM-WM

   MORRIS FLANCBAUM and
   SUSAN RIZZUTO,

          Plaintiffs,

   v.

   THE TYSON GROUP, INC.,
   a California corporation,

         Defendant.
   _____________________________/

          PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
            TO DISMISS FOR LACK OF JURISDICTION, IMPROPER VENUE
                 AND, IN THE ALTERNATIVE, TO TRANSFER VENUE

          Plaintiffs, MORRIS FLANCBAUM and SUSAN RIZZUTO (“Plaintiffs”), by and through
   their undersigned counsel, hereby file their Response in Opposition to Defendant, THE TYSON
   GROUP, INC.’s Motion to Dismiss for Lack of Jurisdiction, Improper Venue and, in the
   Alternative, to Transfer Venue [DE 19].
                                       I.      INTRODUCTION

          1.      On July 21, 2021, Plaintiffs filed a one count Complaint against Defendant, THE
   TYSON GROUP, INC. (“Defendant”) for breach of contract as it defaulted under a Convertible
   Promissory Note (“Note”) and failed to pay Plaintiffs the outstanding balance owed in excess of
   Five Hundred Thousand Dollars ($500,000.00), plus 5.5% interest. [DE 1]
          2.      In response to the Complaint, Defendant filed a Motion to Dismiss for Lack of
   Jurisdiction, Improper Venue and, in the Alternative, to Transfer Venue (“Motion”). In support of
   the Motion, Defendant argues that the terms of the subject promissory note required performance
   of the Note in California, and therefore, there is no basis for jurisdiction under Florida’s long arm
   statute. Seemingly, this is just a ploy to delay entry of judgment on a claim to which no defense
   is warranted. Instead of consenting to judgment, Defendant argues that the course of dealings
   between the parties does not establish the requisite minimum contracts to satisfy the Due Process
   Clause and subject Defendant to the jurisdiction in Florida. Further, Defendant argues that venue
   is improper because the Note designates El Segundo, California as the place of performance and a
   substantial part of the events or omissions giving rise to the breach of the promissory note occurred
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   in El Segundo, California.1 Alternatively, Defendant argues that the case should be transferred to
   the Central District of California where the court should exercise jurisdiction over Defendant and
   venue would be proper. [DE 19]. However, Defendant’s Motion to Dismiss for Lack of
   Jurisdiction, Improper Venue and, in the Alternative, to Transfer Venue must be denied, as a matter
   of law.
             3.      As specifically argued below,2 contrary to Defendant’s arguments in its Motion to
   Dismiss, Plaintiffs have established a basis for the Court’s personal jurisdiction under Florida’s
   long arm statute.        Contrary to Defendant’s assertions, the Note fails to state the place of
   performance. As a result, because the Note is silent as to the place of performance, it is presumed
   that payment would be made by Defendant at Plaintiffs place of residence in Palm Beach County,
   Florida.3 In addition, Plaintiffs also instructed Defendant to wire transfer payments due under the
   Note to their bank in Florida. Defendant partially performed its contractual obligations that were
   due under the Note by wiring a total of Five Hundred Sixteen Thousand Two Hundred Ninety-
   Five Dollars and Thirty-Two Cents ($516,295.32) to Plaintiffs’ bank in Florida. However,
   Defendant failed to perform its remaining contractual obligations and breached the Note by failing
   to wire the remaining funds due under the Note totaling in excess of Five Hundred Thousand
   Dollars ($500,000.00) to Plaintiffs’ bank in Florida.
             4.      In addition, Plaintiffs have established a course of dealings between the parties to
   establish the requisite minimum contracts to satisfy the Due Process Clause and subject Defendant
   to the jurisdiction of Florida. At the time that Plaintiff provided the loan The Tyson Group,
   Plaintiff were residents of Florida. Also, as Plaintiffs directed, Defendant performed under the
   Note by wiring payments to Plaintiffs’ bank account in Florida that were due under the Note and
   Defendant breached the Note by failing to perform and wire the remaining funds to Plaintiffs’ bank
   account in Florida which were due under the Note. In addition, Mr. Flancbaum and representatives
   of The Tyson Group met in Florida on several occasions to seek additional loans from Plaintiff.
             5.      Moreover, Plaintiffs have also established that Florida is the proper venue as, inter
   alia, Plaintiffs reside in Florida, Defendant partially performed its contractual obligations under

   1
     Plaintiffs’ Motion for Summary Judgment is also being filed contemporaneously with the filing of the Response.
   There is no reason Plaintiffs and the Court should go through additional labor of transferring this case where there is
   no legitimate defense that can be assert by Defendant here or in California. Notwithstanding, as shown by this
   Response, and the accompanying Declaration of Morris Flancbaum, jurisdiction is proper here.
   2
     See also Declaration of Morris Flancbaum is being filed contemporaneous herewith.
   3
     It should also be noted that The Tyson Group recognizes – and admits – in its Motion that Plaintiffs received
   payments under the Note in Florida, not California.
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   the Note in Florida by wiring partial payments to Plaintiffs’ bank account in Florida due under the
   Note and Defendant breached the Note in Florida by failing to wire the remaining funds to
   Plaintiffs’ bank account in Florida which were due under the Note.
                                   II.    FACTUAL BACKGROUND
           1.      Plaintiffs have been Florida residents since 2019. (Morris Dec. ¶3).
           2.      Plaintiff were approached to provide a loan to a new corporation called “The
   Tyson Group, Inc.” (Morris Dec. ¶4).
           3.      Initially, Robert Hickman of The Tyson Group met with Plaintiffs in California a
   few times and met with representative of The Tyson Group in El Segundo, California to further
   discuss the business and operational needs of The Tyson Group and to continue negotiating the
   terms of the promissory note. (Morris Dec. ¶5).
           4.      Based on these meeting, the terms of the promissory note were finalized and
   memorialized into the Convertible Promissory Note (the “Note”) by The Tyson Group’s general
   counsel. (Morris Dec. ¶6).
           5.      Plaintiffs wired the $1,000,000.00 under the Note from the JPMorgan Chase
   Bank, N.A. Private Banking Account in Florida to The Tyson Group’s bank account. (Morris
   Dec. ¶¶7, 9).
           6.      An agent of The Tyson Group executed the Note on July 20, 2019. (Morris Dec.
   ¶8).
           7.      Pursuant to the Note, Defendants was required to repay the loan on or before
   August 15, 2020 by the maturity of the loan. (Morris Dec. ¶12).
           8.      Thereafter, Robert Hickman and other representatives of The Tyson Group flew
   several times to Florida to meet Mr. Flancbaum to discuss the business and operational needs of
   The Tyson Group and to seek further investments from Plaintiff. However, Plaintiffs never
   loaned or invested any additional funds to The Tyson Group. (Morris Dec. ¶10).
           9.      Because the Note was silent on the place of performance, Plaintiffs directed
   Defendants to send payments under the Note by wire transfer to their JPMorgan Chase Bank,
   N.A. Private Banking Account in Florida. (Morris Dec. ¶14).
           10.     Between November 27, 2020 and June 4, 2021, Defendants wired to Plaintiffs’
   bank account in Florida a total of $516,295.32 as payments under the Note. (Morris Dec. ¶15).
           11.     However, Plaintiffs have not received any additional payments from Defendant
   since June 4, 2021. (Morris Dec. ¶16).
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             12.    The Note matured on August 15, 2021. Since that time, Defendant has failed to
   perform its contractual obligations by failing to wire to Plaintiffs’ account in Florida the
   remaining funds due under the Note totaling $572,178.08, plus applicable interest. (Morris Dec.
   ¶17).
             13.    As a result, Defendants are in default under the Note. (Morris Dec. ¶18).
                                   III.    MEMORANDUM OF LAW
             A.     The Court has Specific Personal Jurisdiction over Defendant through
                    Florida’s Long-Arm Statute and Such Jurisdiction Does Not Violate
                    Defendant’s Due Process Under the Fourteenth Amendment of the United
                    States Constitution and, Therefore, Defendant’s Motion to Dismiss for Lack
                    of Jurisdiction Must be Denied.

             The plaintiff “bears the burden of making out a prima facia case for personal jurisdiction
   by presenting sufficient evidence to withstand a directed verdict motion.” RG Golf Warehouse,
   Inc. v. Golf Warehouse., 362 F. Supp.3d 1226, 1232 (M.D. Fla. 2019) (quoting Thomas v. Brown,
   504 F.App’x 845, 847 (11th Cir. 2013)); see also Delong v. Washington Mills, 840 F.2d 843, 845
   (11th Cir. 1988). The defendant must then raise “a meritorious challenge to personal jurisdiction”
   by submitting evidence “through affidavits, documents or testimony.” Id. “If the defendant
   provides sufficient evidence, the burden shifts to the plaintiff to prove jurisdiction by affidavit,
   testimony or documents.” Id. “If the plaintiff’s complaint and the defendant’s evidence conflict,
   the district court must construe all reasonable inferences in favor of plaintiff.” Id. (emphasis
   added).
             When determining whether to exercise personal jurisdiction over a defendant, a federal
   court sitting in Florida must determine whether (1) sufficient facts have been alleged to bring the
   action within Florida's long-arm statute; and (2) if Florida's long-arm statute applies, if there are
   sufficient minimum contact by defendant comports with the Due Process Clause of the Fourteenth
   Amendment to the United States Constitution. Blitz Telecom Consulting, LLC v. Peerless Network,
   Inc., 2014 U.S. Distr. LEXIS 192073, at *3-4 (M.D. Fla. 2014); Story v. Heartland Payment Sys.,
   LLC, 461 F. Supp. 3d 1216, 1225 (M.D. Fla. 2020) (citing United Techs. Corp. v. Mazer, 556 F.3d
   1260, 1274 (11th Cir. 2009)); see Fed. R. Civ. P. 4(k)(2).
                    i.      Florida’s Long Arm Statute.

             “The Florida long-arm statute provides two bases for the exercise of personal jurisdiction”
   over a non-resident: general and specific jurisdiction. PVC Windoors, Inc. v. Babbitbay Beach
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   Const., N.V., 598 F.3d 802, 808 (11th Cir. 2010). “[G]eneral jurisdiction refers to the power of
   the forum stat to exercise jurisdiction in any cause of action involving a particular defendant….
   Id. at 808 n.8. Specific jurisdiction “refers to jurisdiction over causes of action arising from or
   related to a defendant’s actions within the forum.” Id. at 808.
           Here, Plaintiffs assert that Florida’s long-arm statute confers specific jurisdiction over
   Defendant because of its “[b]reaching a contract in this state by failing to perform acts required by
   the contract to be performed in this state.” §48.193(1)(a)(7), Florida Statues; see also RG Golf
   Warehouse, Inc., 362 F. Supp. 3d at 1238. “Allegations that a defendant failed to tender payment
   in Florida by the terms of the contract are sufficient to bring an action within the purview of section
   48.193(1)(a)(7).” Blitz Telecom Consulting, LLC, 2014 U.S. Distr. LEXIS 192073, at *3-4; Power
   Rental OP CO, LLC v. V.I. Water & Power Auth., 2021 U.S. Dist. LEXIS 125096, at *6 (M.D.
   Fla. 2021) (“Failure to make payments owed under a contract where payment is due to be made in
   Florida is sufficient to satisfy Section (1)(a)(7) of Florida's long-arm statute.”) (internal quotations
   omitted); Links Design, Inc. v. Lahr, 731 F. Supp. 1535, 1538 (M.D. Fla. 1990) (“Allegations that
   Defendant failed to make payments, per the contract, in Florida is sufficient to bring this actions
   within the ambit of section 48.193(1)(g).).
           In the case at hand, Plaintiffs and Defendants entered into the Note on July 30, 2019.
   Pursuant to Section 1 of the Note, entitled “Payment,” it states:
               The Tyson Group, Inc., a California corporation (the “Company”), its
               successors and assigns, for valued received, hereby promises to pay the Morris
               Flancbaum and Susan Rizzuto, JTWROS, or his, or her or its registered assigns
               (the “Holder”) the principal sum of one million and 00/100 Dollars
               ($1,000,000.00) on August 15, 2020 (the “Maturity Date”). The Company also
               promises to pay interest (computes on the basis of a 360-day year) from the date
               hereof on the unpaid balance of such principal amount from time to time
               outstanding at the simple rate of five and one-half (5 ½%) per annum. Interest
               shall be due and payable on the Maturity Date.

           As alleged in the Complaint, Plaintiffs are residents of Florida since 2018. (Compl. ¶¶1-
   2); (Morris Dec. ¶3). Contrary to Defendant’s argument, the Note is silent on the place of
   performance so it is presumed to be Plaintiff’s place of residence. See Angiamo Marine, Ltd v.
   Ocean Marine, LLC, 2018 U.S. LEXIS 224503, at *6 (S.D. Fla. 2018) (“When a contract is silent
   as to the place of payment, contract law presumes payment is due at the payee’s residence and/or
   place of business.”); RG Golf Warehouse, Inc., 362 F. Supp. 3d at 1238 (Under Florida law, when
   a “contract is silent as to a place of payment, it is presumed to be the place of the residence of the
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   payee.”). Plaintiffs also directed Defendant to wire transfer payments due under the Note to
   Plaintiffs’ bank account at located JPMorgan Chase Bank, N.A. Private Banking Account in
   Florida. See Asinte Partners, LLC v. GTS Mgmt. Co., 2016 U.S. Dist. LEXIS 156537, at *7 (S.D.
   Fla. 2016) (While the agreement did not establish that defendant was required to make payments
   in Florida, defendants deposited or wired payments into plaintiff’s account in Florida, which the
   court determined was enough for Florida’s long-arm statute to confer personal jurisdiction over
   defendant.). As a result, Plaintiffs’ directions further solidified that Defendant was required to
   perform its contractual obligations under the Note, including making payments to Plaintiffs, in
   Florida.
              Pursuant to Plaintiffs’ directions, Defendant made the following payments by wire transfer
   to Plaintiffs’ bank in Florida under the Note:
                       1)        $500,000.00 received on November 27, 2020;
                       2)        $2,661.17 received on December 24, 2020;
                       3)        $2,661.17 received on January 20, 2021; and
                       4)        $10,972.98 received on June 4, 2021.
                                 Totaling: $516,295.32


   (Compl. ¶10); (Morris Dec. ¶15). However, Defendant breached the Note and failed to perform
   its contractual obligations in Florida by failing to wire Plaintiffs the remaining funds that were
   owed under the Note to Plaintiffs’ bank account in Florida totaling $572,178.08, plus the 5 ½%
   interest applicable under Paragraph 1 of the Note and the penalty interest applicable under
   Paragraph 16 of the Note.4 (Compl. ¶¶14-15); (Morris Dec. ¶ 17).
              Based on the forgoing, Plaintiffs have asserted sufficient allegations and plead sufficient

   facts to support that Florida’s long-arm statute confers the Court with specific personal jurisdiction

   over Defendant as Defendant failed to make payments under the Note that were to be wire

   transferred into Plaintiffs’ bank account in Florida to satisfy §48.193(1)(a)(7), Florida Statutes.

                       ii.       Due Process of the Fourteenth Amendment of the United States
                                 Constitution.

   4
       Pursuant to Paragraph 16 of the Note, entitled “Penalty for Overdue Payment,” it states:

                   In addition to the payment due as set forth herein, if the Holder has not received payment in full
                   on or before its due date, Company will pay the Holder a penalty of 5.5% of the Principal then
                   due and owing compounded monthly until such times as the Principal and Interest have been
                   paid in full.
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           Once a federal court determines that Florida’s long-arm statute confers specific personal

   jurisdiction over a defendant, the court must then determine whether exercising specific

   jurisdiction comports with due process under the Fourteenth Amendment of the United States

   Constitution. Sapa Precision Tubing Rockledge, LLC v. Tex-Mex Recycling, LLC, 2016 U.S. Dist.

   LEXIS 94588, at *10 (M.D. Fla. 2016). In determining if specific personal jurisdiction comports

   with due process under the Fourteenth Amendment, federal courts apply a three-part due process

   test, which examines:

               1)      whether the plaintiff’s claims arise out of or relate to at least one
                       of the defendant's contacts with the forum;
               2)      whether the nonresident defendant purposefully availed himself
                       of the privilege of conducting activities within the forum state,
                       thus invoking the benefit of the forum state's laws; and
               3)      whether the exercise of personal jurisdiction comports with
                       traditional notions of fair play and substantial justice.

   CodeVentures, LLC v. Vital Motion,, Inc., 2021 U.S. Dist. LEXIS 55557, at *6 (S.D. Fla. 2021).
   “The plaintiff bears the burden of establishing the first two prongs [of the test], and if the plaintiff
   does so, the defendant must make a compelling case that the exercise of jurisdiction would violate
   traditional notions of fair play and substantial justice.” Louis Vuitton Malletier, S.A. v. Mosseri,
   736 F.3d 1339, 1355 (11th Cir. 2013) (internal quotations omitted); see deMco Techs., Inc. v. C.S.
   Engineered Castings, Inc., 769 So. 2d 1128, 1131 (Fla. 3d DCA 2000) (In conducting a due process
   analysis, Florida courts have “recognize[d] that when the failure to pay a debt owed in this state,
   whether as the primary obligor or guarantor, is accompanied by some other related substantial act
   in Florida that is purposefully directed toward the state or its residents, the exercise of personal
   jurisdiction over such nonresident defendants is proper.”) (citations omitted).
                           a. Claims arise out of or relate to defendant’s contacts with the
                              state.

           As to the first prong of the due process test, courts focus on “the direct causal relationship
    among the defendant, the forum, the litigation.” Fraser v. Smith, 594 F.3d 842, 850 (11th Cir
    2010). In this case, the parties met, discussed and negotiated the terms of the Note, which
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    Defendant breached by failing to perform its contractual obligations under the Note by failing to
    wire the remaining funds that were owed under the Note to Plaintiffs’ bank account in Florida.
            In or about 2019, Plaintiffs were approached about investing in The Tyson Group, a newly
    formed corporation. (Morris Decl. ¶4). Initially, Mr. Flancbaum met with Robert Hickman, a
    representative of The Tyson Group, to discuss the company and its need for a business loan.
    (Morris Dec. ¶5). After the meeting, Mr. Flancbaum became interested in providing a loan to
    The Tyson Group. To negotiate the terms of a promissory note, Mr. Flancbaum met with Robert
    Hickman, as well as another representative of The Tyson Group, in California. (Morris Dec. ¶5).
    Ultimately, based on the negotiated terms, the Note was drafted, finalized and executed by The
    Tyson Group on or about July 30, 2019. (Morris Dec. ¶¶6, 8). At the time of these meetings and
    negotiations, Plaintiffs lived and resided in Florida. While some of the meetings between Plaintiff
    and the representative of The Tyson Group took place in California, the $1,000,000.00 payment
    was transferred from Plaintiffs’ account in Florida to Defendant bank, and payments due under
    the Note were wire from Defendant’s bank account to Plaintiffs’ bank account in Florida. (Morris
    Dec. ¶¶9, 14).
           Between November 2019 and June 2021, Defendants sent payments due under the Note by
   wire transfer to Plaintiffs’ bank account in Florida totaling $516,295.32. (Morris Dec. ¶15).
   However, Defendant breached the Note by failing to perform and wire the remaining funds due
   under the Note totaling $572,178.08, plus interest and default interest to Plaintiffs’ bank account
   in Florida. (Morris Dec. ¶17).
           Based on Plaintiffs and Defendant negotiating the terms of the Note while Plaintiffs resided
   in Florida and payments were to be made to Plaintiffs in Florida, and then Defendant subsequently
   breaching the Note by failing to perform and wire all funds to Plaintiffs’ bank account in Florida
   due under the Note, there is a sufficient direct causal relationship between Plaintiff’s breach of
   contract claim and Defendant’s direct contacts with Florida.
                           b. Purposefully availment of the privilege of conducting
                              activities within the forum state.

           “For claims involving contracts, in determining whether a defendant purposefully availed
   himself of the privilege of conducting activities in the forum states, courts use the traditional
   minimum contacts test.” Calder v. Jones, 465 U.S. 783, 788 (1984). “Under the traditional
   minimum contacts test, a court assesses the nonresident defendant’s contacts with the forum state
   and asks whether those contacts: 1) are related to the plaintiff’s cause of action; 2) involve some
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   act by which the defendant purposefully availed himself of the privileges of doing business within
   the forum; and 3) are such that the defendant should reasonably anticipate being haled into court
   in the forum.” Bonczyk v. Julian Keith Levene & Cadiz Music & Digital, 2020 U.S. Dist. LEXIS
   183508, at *32 (M.D. Fla. 2020) (quoting Louis Vuitton, 736 F.3d at 1357); see Diamond Crystal
   Brands, Inc. v. Food Movers Int'l, Inc., 593 F.3d 1249, 1267-68 (11th Cir. 2010) (quoting Burger
   King Corp. v. Rudzewicz, 471 U.S. 462, 479, 105 S. Ct. 2174, 85 L. Ed. 2d 528 (1985)) (“[W]hen
   inspecting a contractual relationship for minimum contacts, [the Eleventh Circuit] follow[s] a
   ‘highly realistic approach’ that focuses on the substance of the transaction: prior negotiations,
   contemplated future consequences, the terms of the contract, and the actual course of dealing.”).
           In the case at hand, Plaintiffs’ breach of contract claim is directly related to Defendant’s
   contacts with Florida.      Specifically, Mr. Flancbaum and Defendant’s representative, Robert
   Hickman, met to initially discuss The Tyson Group and Mr. Flancbaum providing a loan to The
   Tyson Group. Subsequent to the initial meetings, and Plaintiffs making the loan under the Note,
   Mr. Flancbaum and representatives of The Tyson Group met in Florida on several occasions to
   negotiate the terms of potential additional loans that were never memorialized. Once the terms of
   the subject Note were agreed upon by the parties, the Note was memorialized and executed by The
   Tyson Group. Plaintiffs directed Defendant to wire transfer payments that were due under the
   Note to Plaintiffs’ bank account in Florida. Defendant wire transferred some of the payments due
   under the Note to Plaintiffs’ bank account in Florida. However, Defendant breached the Note by
   failing to perform and wire the remaining funds to Plaintiffs’ bank account in Florida which were
   due under the Note. Moreover, Defendant knew that Plaintiffs are residents of Florida, as they
   essentially admit, and that any claim that arose against Defendant could occur in Florida.
   California is not the proper venue for this litigation. Based on these direct actions by Defendant
   in Florida, Defendant purposely availed itself of the privileges of doing business within Florida
   and should have reasonably anticipated being hauled into a Florida court, upon default.
           The terms negotiated were memorialized into the Note and executed by the parties.
   California was not designated as the proper venue for litigation. Subsequent to entering into the
   Note, Defendant breached the Note by failing to perform in Florida by failing to wire transfer
   payments to Plaintiffs’ bank account in Florida that were due under the Note. Based on these
   direct actions by Defendant in Florida, Defendant purposely availed itself of the privileges of doing
   business within Florida and should have reasonably anticipated being haled into a Florida court,
   upon default. See Bonczyk, 2020 U.S. Dist. LEXIS 183508, at *34
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                            c. Traditional notions of fair play and substantial justice.
           The factors determining with traditional notions of fair play and substantial justice apply
   are:
                       1)       the burden on defendants;
                       2)       Florida’s interest in adjudicating the dispute;
                       3)       Plaintiffs’ interest in obtaining convenient and effective relief;
                       4)       the judicial system’s interest in resolving disputes in the most
                                efficient way; and
                       5)       the shared interest of the states in furthering fundamental
                                substantive social policies.

   See Bonczyk, 2020 U.S. Dist. LEXIS 183508, at *37.
           In applying these factors to the instant case, the Court exercising jurisdiction over
   Defendant would not violate traditional notions of fair play and substantial justice. Defendant and
   its representatives solicited Plaintiffs, who are Florida residents, for a loan. The parties also
   negotiated terms of the Note during various meetings at times they were aware Plaintiffs resided
   in Florida. In addition, Defendant performed but subsequently failed to perform its contractual
   obligations in Florida. As a result of Defendant’s breach of the Note, Plaintiffs’ injuries occurred
   in Florida. Florida has an interest in adjudicating the dispute between Plaintiffs and Defendant as
   Plaintiffs are Florida residents and Plaintiffs allege they were injured in Florida by Defendant’s
   breach of the Note. See Diamond Crystal Brands, Inc. v. Food Movers Int.’l, Inc., 593 F.3d 1249,
   1274 (11th Cir 2010) (holding a Florida court has a “manifest interest in providing an effective
   means of redress” when a non-resident breached a contract with a resident through non-payment)
   (internal quotations marks and citation omitted); Licciardell v. Lovelady, 544 F.3d 1280, 1288
   (11th Cir. 2008) (“Florida has a very strong interest in affording its residents a forum to obtain
   relief from intentional misconduct of nonresidents causing injury in Florida.”); Energy Smart Inds.,
   LLC v. Big R of Lamar, Inc., 2012 U.S Distr., LEXIS 103991, at *28 (S.D. 2012) (Florida has an
   interest in redressing an injury suffered by a resident because of a breach contract by a non-
   resident.). In addition, Plaintiffs’ interest in obtaining convenient and effective relief are in Florida.
   Plaintiff recognizes that Defendant is a California corporation with its principal place of business
   and some of its witnesses located in California. However, this case involves is a simple default by
   Defendant under a Note, where no defenses exist. No witnesses are necessary as there is no
   legitimate defense. Clearly, under these facts, exercising jurisdiction over Defendant would not
   violate traditional notions of fair play and substantial justice. See Bonczyk, 2020 U.S. Dist. LEXIS
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   183508, at *39 (holding that defendant’s travel from Europe to Florida to conduct business with
   plaintiff “suggests that the travel aspect of litigating in Florida in not unduly burdensome” as
   “modern means of communication and travel further reduce the burden of litigating inf Florida.”).
           For the foregoing reasons, Plaintiffs have sufficiently established a prima facie case that
   the Court has specific personal jurisdiction over Defendant through Florida’s long-arm statute and
   such jurisdiction does not violate Defendant’s due process under the Fourteenth Amendment of
   the United States Constitution. Therefore, Defendant’s Motion for Lack of Jurisdiction must be
   denied, as a matter of law.
           B.        Defendant’s Motion to Dismiss for Improper Venue Pursuant to Rule 12(b)(3)
                     Must be Denied as Venue is Proper Because a Substantial Part of the Events
                     or Omissions Giving Rise to this Case Occurred in the Southern District of
                     Florida.

           Defendant also seeks to dismiss the Complaint for improper venue pursuant to Federal Rule
   of Civil Procedure 12(b)(3). “When a defendant challenges venue as improper, the plaintiff bears
   the burden of showing that the venue selected is proper.” Santos Camacho v. United States, U.S.
   Dist. LEXIS 200256, at * 2 (S.D. Fla. 2019). Under 28 U.S.C. §1391(b), venue is proper in:
                1)      a judicial district in which any defendant resides, if all defendants are
                        residents of the State in which the district is located;

                2)      a judicial district in which a substantial part of the events or omissions
                        giving rise to the claim occurred, or a substantial part of property that is
                        the subject of the action is situated; or

                3)       if there is no district in which an action may otherwise be brought as
                        provided in this section, any judicial district in which any defendant is
                        subject to the court’s personal jurisdiction with respect to such action.

   28 U.S.C. §1391(b)(1)-(3); see Epler v. Air Methods Corp., 2021 U.S. Dist. LEXIS 104945, at *8
   (M.D. Fla. 2021).
           In this case, venue is proper in the Southern District of Florida pursuant to 28 U.S.C.
   §1391(b)(2) because a substantial part of the events giving rise to the breach of contract claim at
   issue in this case occurred therein. Specifically, Plaintiffs are residents of Palm Beach County,
   Florida and have been since 2018. Representatives of The Tyson Group approached Plaintiffs
   about providing a loan to The Tyson Group while Plaintiffs were residents of Florida. Initially,
   Mr. Flancbaum and Robert Hickman of The Tyson Group met in Florida to discuss The Tyson
   Group and concerning Plaintiffs providing a loan to The Tyson Group. (Morris Dec. ¶5).
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   Subsequent to the initial meeting, Mr. Flancbaum and representatives of The Tyson Group met in
   California to negotiate the terms of the promissory note. (Morris Dec. ¶5). Once the terms of the
   Note were agreed upon by the parties, the Note was memorialized and executed by the parties.
   (Morris Dec. ¶6). Defendant erroneously claims that the Note states the place of performance of
   its contractual obligations was designated as El Segundo, California. However, there is no
   provision in the Note that specifically states that El Segundo, California is the place of performance
   by the Plaintiffs. As a result of the Note being silent on the place of performance, under Florida
   law, payment was due at Plaintiffs’ place of residence in Palm Beach County, Florida. See
   Angiamo Marine, Ltd v. Ocean Marine, LLC, 2018 U.S. LEXIS 224503, at *6 (S.D. Fla. 2018);
   RG Golf Warehouse, Inc. v. Golf Warehouse., 362 F. Supp.3d 1226, 1238 (M.D. Fla. 2019).
   Further, Plaintiffs directed Defendant to wire transfer payments that were due under the Note to
   Plaintiffs’ bank account in Florida. See Asinte Partners, LLC v. GTS Mgmt. Co., 2016 U.S. Dist.
   LEXIS 156537, at *7 (S.D. Fla. 2016). Defendant wire transferred the payments that were made
   to Plaintiffs’ bank account in Florida. Nonetheless, the omission giving rise to this action occurred
   in in Florida when Defendant breached the Note by failing to perform and wire the remaining
   funds to Plaintiffs’ bank account in Florida which were due under the Note. See Sinclair v. Wilde,
   Ltd. V. TWA Int’l., 2020 U.S. Dist. LEXIS 69682, *8-9 (S.D. Fla. 2020); see also Key Equipment
   Finance, Inc. v. Overend, 2013 U.S. Dist. LEXIS 200680, at 7-8 (N.D. Ga. 2013).
            Based on the forgoing, venue is proper in the Southern District of Florida. Therefore,
   Defendant’s Motion to Dismiss for Improper Venue pursuant to Florida Rule of Civil Procedure
   12(b)(3) must be denied, as a matter of law.5
            C.       Defendant’s Motion to Dismiss Based on Forum Non Coveniens Must Be
                     Denied Because the Southern District of Florida is the Proper Forum.

            In addition, Defendant seeks to dismiss the complaint based on forum non coveniens. To
   obtain dismissal under forum non coveniens, the moving party must demonstrate the following:
                          1)        an adequate alternate forum is available;
                          2)        the public and private interest factors weigh in favor of
                                    dismissal; and
                          3)        the plaintiff can reinstate his suit in the alternative forum without
                                    undue inconvenience or prejudice.


   5
     In the unlikely event that the Court finds venue is improper in the Southern District of Florida, Plaintiffs request that
   the Court transfer the case to the Central District of California pursuant to 28 U.S.C. §1406 rather than dismissing the
   case.
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   Bitet v. Holding Riu Hotels, 2016 U.S. Dist LEXIS 201398, at 18-19 (S.D. Fla. 2016) (quoting
   Ochoa v. Empresad ICA, S.A.B. DE CV, 600 F.App’x 725, 726 (11th Cir 2015).
            Here, as more specifically argued in Section D below, Defendant fails to demonstrate
   sufficient public and private interest factors that weigh in favor of dismissal (or transferring this
   case to the Central District of California) based on forum non coveniens.
                                     i.       Private Interest Factors.
            In regard to private interest factors, Plaintiff’s potential witnesses, to the extent needed at
   all to establish the unrefuted default under the Note, with no viable defenses, are located in Florida
   and California. Defendant asserts that its potential witnesses are located in California, Minnesota
   and Colorado. Defendant’s witnesses located in Minnesota and Colorado would be required to
   travel and assume travel expenses whether the case was in Florida or California. Defendant also
   asserts that witnesses in California and presumably in Minnesota and Colorado must be
   subpoenaed for trial,6 which would occur if the case was in Florida or California. In addition,
   Defendant asserts that all relevant documents are located in California, including Defendant’s
   books and records. However, with the age of technology, any and all relevant documents should
   be available electronically. The documents that are not available electronically can be easily
   converted to electronic format so that all parties can access the documents electronically. These
   assertions are specious at best.
                                     ii.      Private Interest Factors.
            In regard to the public interest factors, Defendant argues that while the Central District of
   California has more cases than the Southern District of Florida, the Central District of California
   is closing cases at a higher percentage rate. (MTD pp. 17-18). However, Judge Donald W.
   Middlebrooks and his staff at the Southern District of Florida are more than capable of handling
   and closing out this case in a timely fashion. This is not a complicated case. The Complaint
   includes one count concerning a breach of a promissory note that Defendant failed to perform in
   Florida. There are no known viable defenses, and none have been articulated, since none actually
   exist.    Judge Donald W. Middlebrooks and the Southern District of Florida are more than
   competent to apply the laws of California (which are substantially similar to those in Florida
   concerning a simple breach of contract), while protecting the Florida’s interest in providing



   6
    We simply cannot imagine that would occur as we are aware of no viable defense to Defendant’s default under the
   Note, and do not believe an such defense exists.
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   Plaintiffs, its residents, the proper forum for redressing the injuries they have suffered as a result
   of Defendant’s breach under the Note.
           Further, Florida, not California as Defendants argue, has a local interest in having localized
   controversies decided at home. Plaintiffs are residents of Florida. Mr. Flancbaum and Defendant’s
   representative negotiated terms of the Note to be performed by making payments to Plaintiffs
   where they reside, which is in Florida. Defendant was required but failed to perform its contractual
   obligations under the Note in Florida. Therefore, Florida has an interest in adjudicating the dispute
   between Plaintiffs and Defendant as Plaintiffs are Florida residents and Plaintiffs allege they were
   injured in Florida by Defendant’s breach under the Note.
           Based on the foregoing, the public and private interest factors as asserted by Defendant do
   not weigh in favor of dismissing (or transferring this case to the Central District of California).
   Therefore, Defendant’s Motion to Dismiss Based on forum non coveniens must be denied, as a
   matter of law.
           D.       Defendant’s Motion to Transfer of Venue Must Be Denied the Southern
                    District of Florida is the Proper Venue.

           Alternatively, Defendant argues that the Court should transfer the venue to the Central
   District of California because the place of performance of the Note is in El Segundo, California,
   the Note requires certain actions take place in El Segundo, California is the choice of law,
   Defendant is located in El Segundo, and prior, during and after execution of the Note, Plaintiffs
   traveled to El Segundo and the greater Los Angeles area to conduct business with Defendant
   related to the Note. (MTD p. 16). However, these factors are not sufficient to support for this
   Court to transfer venue to the Central District of California.
           A motion to transfer venue is governed by 28 U.S.C. §1404(a). Under 28 U.S.C. §1404(a),
   “[f]or the convenience of the parties and witnesses, in the interest of justice, a district court may
   transfer any civil action to any other district or division where it might have been brought or to
   any district or division to which all parties have consented.” 28 U.S.C. §1404(a). Other than to
   assist the Defendant to delay this matter, there is no convenience by transferring this action to
   California. Courts have a broad discretion under 28 U.S.C. §1404(a) to transfer venue. However,
   “federal courts traditionally have accorded a plaintiff’s choice of forum considerable deference.”
   In re Ricoh Corp., 870 F.2d 570, 573 (11th Cir. 1989). A plaintiff’s choice of forum “should not
   be disturbed unless it is clearly outweighed by other considerations.” Robinson v. Giarmarco &
   Bill, P.C., 74 F.3d 253, 260 (11th Cir. 1996). Therefore, “[i]t is the movant’s burden to establish
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   that a case should be transferred to the suggested forum in the interests of convenience and justice.”
   Nat’l Trust Ins. Co., 223 F. Supp.3d at 1242. A defendant bears a heavy burden when seeking to
   disrupt a plaintiff’s chosen venue. Sapa Precision Tubing Rockledge, LLC, 2016 U.S. Dist. LEXIS
   94588, at *18 (M.D. Fla. 2016).
            In considering a motion to transfer, the court engages in a two-step analysis. “The court
   must first determine, as a threshold matter, whether the case could have been filed in the proposed
   district.” Nat’l Trust Ins. Co. v. Pa. Nat’l Mut. Cas. Ins. Co., 223 F. Supp.3d 1236, 1242 (M.D.
   Fla. 2016). “Next, the court must consider “whether the transfer would be for the convenience of
   the parties and witnesses and in the interest of justice.” Id. (quoting Eye Care Int.’l, Inc. v.
   Underhill, 119 F. Supp.2d 1313, 1318 (M.D. Fla. 2000)). While the case could have been filed in
   California, there is little if any convenience to the parties and witnesses or the interest of justice
   through transferring this case to California. Rather, the contrary is likely true.
            In determining the second prong of the analysis, courts in the Eleventh Circuit consider the
   following factors:
               1)       the convenience of the witnesses;
               2)       the location of relevant documents and the relative ease of access to sources of
                        proof;
               3)       the convenience of the parties;
               4)       the locus of operative facts;
               5)       the availability of process to compel the attendance of unwilling witnesses;
               6)       the relative means of the parties;
               7)       the forum’s familiarity with the governing law;
               8)       the weight accorded a plaintiff’s choice of forum; and
               9)       trial efficiency and the interest of justice, based on the totality of the
                        circumstances.

   Epler, 2021 U.S. Dist. LEXIS 104945, at *5-6 (quoting Kelling v. Hartford Life & Accident Ins.,
   961 F.Supp.2d 1216, 1218 (M.D. Fla. 2013)). After the Court balances these factors, the Court
   must find that the transferring venue is unwarranted and deny Defendant’s Motion to Transfer
   Venue.
                           i.       Sufficiency of Proposed Jurisdiction and Venue.

            Under 28 U.S.C. §1404(a), the proposed transferee court is required to have personal and
   subject-matter jurisdiction and to offer an appropriate venue. DeLorenzo v. HP Enter. Servs., LLC,
   79 F.Supp.3d 1277, 1280 (M.D. Fla. 2015). Plaintiffs contest that this matter should have been
   brought in Central District of California as proposed by Defendant. Admittedly, Mr. Flancbaum
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   met representatives, including Robert Hickman, of The Tyson Group in El Segundo, California to
   discuss The Tyson Group and negotiate the terms of the Note. However, that is Plaintiffs’ only
   related connection to Central District of California as proposed by Defendant.
           Plaintiffs reside in Florida. Mr. Flancbaum traveled to El Segundo, California to meet with
   representatives of The Tyson Group to discuss The Tyson Group and to negotiate the terms of the
   Note. Plaintiffs and Defendant ultimately agreed upon the terms of the Note that was executed by
   Defendant, that was funded by Plaintiffs from their bank account in Florida and paid by Defendant
   by wire transfer into Plaintiffs’ bank account in Florida. Moreover, the Note is silent as to place
   of payment. As a result, under Florida law, the place of payment is Plaintiffs’ residence, which is
   located in Palm Beach County, Florida.         Plaintiffs also directed Defendant to wire transfer
   payments of the principal sum due under the Note to Plaintiffs’ bank account in Florida. (Morris
   Aff. ¶¶14-15). Therefore, jurisdiction and venue is not proper in the Central District of California
   as proposed by Defendant and this factor weighs against transferring venue.
                           ii.      Whether transfer would be for the convenience of the parties,
                                    witnesses and in the interest of justice.

           In determining the second prong of the analysis in considering whether to transfer venue,
    the Court must determine whether the following factors clearly outweigh Plaintiffs’ choice of
    forum such that the convenience of the parties and interest of justice would be furthered by
    transferring this action. See SMS Racks, Inc. v. Sistemas Mecanicos Para Electronica, S.A., 382
    F.3d 1097, 1100-01 (11th Cir. 2004) (“[U]nless the balance is strongly in favor of the defendant,
    the plaintiff’s choice of forum should rarely be disturbed”). To support transferring the case to
    the Central District of California, Defendant asserts that litigating in Florida would be an
    inconvenience because the witnesses are located in California, Minnesota and Colorado. (MTD
    p. 17). However, the witnesses in Minnesota and Colorado would be required to travel whether
    the case was in California or Florida. Indeed, to the extent any witness is needed at all, they can
    testify electronically or otherwise make themselves available to testify. The facts of this case are
    not complex. There is nothing miraculous about the testimony to establish the terms of the Note
    and that payment has not been made as agreed, establishing a breach. Nothing complex has been
    demonstrated to apply to testimony of the Defendant such that this factor should be afforded
    substantial merit. Moreover, no other factors apply to the relationship of the parties, such that this
    factor would have any factual merit.
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           Defendants also allude that Plaintiffs are more financially capable to litigate the case in
    California because they are wealthy people, that have a multimillion-dollar real estate portfolio
    and operate successful businesses. Id. This is irrelevant. Nonetheless, Plaintiffs should not be
    required to pay for the litigation because Defendant contends financial wealth should be
    considered as a factor. Defendant is a corporation that presumably should have the financial
    resources to litigate within any forum. There is nothing here that suggests Defendant is in some
    way prejudiced by litigating its liability under a Note in Florida, where no known defense is
    believed to exist to enforcement.     Thus, this factor weighs against transferring the case to the
    Central District of California.
                   a.               The convenience of the parties, witnesses and location of
                                    relevant documents.

           The factors of the convenience of the parties, witnesses and location of relevant documents
   do not weigh heavily in favor of transfer. Specifically, Plaintiffs are residents of Florida.
   Defendant is a California corporation with its place of business located in El Segundo, California.
   Plaintiff’s potential witnesses are located in Florida and California. Defendant asserts that its
   potential witnesses are located in California, Minnesota and Colorado. (MTD. P. 17); see Capella
   Photonics Inc. v. Cisco Sys., Inc., U.S. Dist. LEXIS 100283, at *5 (S.D. Fla. 2014) (Merely shifting
   inconvenience from one party to another is an insufficient basis for transfer.). Again, this is a
   simple breach of contract note case where witnesses will play, at best, a secondary role if any as
   the Note exists (is admitted in fact), default has occurred, which is believed to be unrefuted, and
   there is no known or available defense to enforcement and entry of judgment. A motion for
   summary judgment is being filed contemporaneously with this motion. With the age of technology,
   any and all relevant documents should be available electronically. These purported considerations
   are asserted to involve a mechanism for potential delay, nothing more. The documents, if any,
   that are not available electronically can be easily converted to electronic format so that all parties
   can access the documents electronically. See Watson v. Community Educ. Ctrs., Inc., 2011 U.S.
   Dist. LEXIS 89520, *13 (M.D. Fla. 2011) (“Modern technology largely neutralizes traditional
   obstacles to providing relevant documents and access to providing relevant documents and access
   to proof.”). There would be few, if any, such documents in any event, as the Note is either in
   default or it is not, and there is a viable defense to enforcement or there is not. No defense has so
   far been stated by Defendant, and none is believed to exist. This factor is sought to be invoked for
   delay purposes, nothing more, and nothing can actually be demonstrated to the contrary
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                  b.                The locus of operative facts.
           The factor of the locus of operative acts does not weigh in favor of transfer. The facts here
   are simple and apparently not contested. “In determining the locus of operative facts, the court
   must look at the site of the events from which the claim arises.” Nat’l Tr. Ins. Co. v. Penn. Nat’l
   Mut. Cas. Ins. Co, 223 F.Supp.3d 1236, 1245 (M.D. Fla. 2016) (internal quotations omitted). In
   this case, the claim arises in Florida as Defendant breached the contract in Florida as it failed to
   perform its contractual obligations under the Note by failing to make payments due under the Note
   to the Plaintiffs where they reside in Florida.. Specifically, pursuant to the Note the principal sum
   $1,000,000.00 was to be paid by Defendant to Plaintiff by the maturity date of August 15, 2020.
   The Note is silent as to place of payment. Therefore, under Florida law, the place of payment is
   Plaintiffs’ residence, which is located in Palm Beach County, Florida.       Plaintiffs also directed
   Defendant to wire transfer payments of the principal sum due under the Note to Plaintiffs’ bank
   account in Florida. Defendant paid by a total of $516,295.32 by wire transfer to Plaintiffs’ bank
   account in Florida between November 2020 and June 2021. However, Defendant breached the
   Note and failed to perform its contractual obligations in Florida by failing to wire to Plaintiffs the
   remaining funds that were owed under the Note to Plaintiffs’ bank account in Florida totaling
   $572,178.08, plus the 5 ½% interest applicable under Paragraph 1 of the Note and the penalty
   interest applicable under Paragraph 16 of the Note.         Therefore, this factor weighs against
   transferring venue.
                   c.               The availability of process to compel the attendance of unwilling
                                    witnesses.

           The availability of process to compel the attendance of unwilling witnesses also does not
   weigh in favor of transfer. Defendant argues that some of its witnesses are located in California
   but are not employed by Defendant and “the parties would benefit from compulsory process for
   their attendance in California.” (MTD p. 17). Meaning, Defendant would have to subpoena certain
   witnesses whether the trial was in California or Florida. Notably, Defendant does not state in any
   meaningful way how the testimony of any witnesses in California would bear on any relevant or
   material issue in dispute, if any. Defendant also states that potential witnesses with relevant
   knowledge are located in Minnesota and Colorado, which may also require compulsory process
   for their attendance at trial. But relevant knowledge is not sufficient to create an issue of fact in
   this very straight-forward breach of contract case. Absent some showing of an actual issue in
   dispute, Plaintiffs submit that this Court should find that this Defendant’s Motion is simply an
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   unwarranted delay tactic. Indeed, while Defendant’s assertion concerning what appear to be
   largely unnecessary and irrelevant witnesses to the issues required to be adjudicated here, if indeed
   needed (which is really a stretch to establish liability or a viable defense to the Note, which
   probably does not exist), Defendant would be required to seek the testimony of witnesses in various
   locations whether it took place in California or Florida. At best, this appears to be a mildly
   irrelevant factor in this case.
                   d.                The relative means of the parties.
           Defendant argues that because Plaintiffs are successful and wealthy people that they assert
   maintain a multimillion-dollar real estate portfolio that the case should be transferred because they
   can afford to litigate in California. Whether true or not, this purported factor should not be
   considered by this Court. (See MTD p. 17). Plaintiffs should not be financially responsible for
   maintaining a case based on a particular forum, particularly where the Defendant failed in its
   contractual obligations. Defendant is a California corporation and presumably should have the
   financial means to litigate within any forum. Defendant’s representatives traveled several times
   to Florida to meet with Mr. Flancbaum to seek to negotiate the terms of additional loans. . See
   Bonczyk, 2020 U.S. Dist. LEXIS 183508, at *39 (holding that defendant’s travel from Europe to
   Florida to conduct business with plaintiff “suggests that the travel aspect of litigating in Florida in
   not unduly burdensome” as “modern means of communication and travel further reduce the burden
   of litigating in Florida.”). Subsequently, Defendant entered into a Note with Plaintiffs and
   guaranteed to repay the Note by the maturity date. Plaintiffs took certain financial risks entering
   into the Note with Defendants and then Defendant defaulted under the terms of the Note. Also, at
   the time Defendant entered into the Note, Defendant should have known of the risks of being sued
   by Plaintiffs in a Florida and the financial costs of being sued if it defaulted under the Note.
   Therefore, this factor should weigh against transferring venue.
                   e.                The forum’s familiarity with the governing law.

           While Section 13 of the Note provides that the laws of the State of California govern, the
   Court is competent to apply the laws of California, particularly since this action concerns a simple
   breach of contract, while protecting the state’s interest in providing Plaintiffs, its residents, the
   proper forum for redressing the injuries they have suffered as a result of Defendant’s breach of the
   Note. This factor certainly has little if any weight to militate if factor of this action being
   transferred.
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                   f.               The weight accorded a plaintiff’s choice of forum.

           As stated above, a plaintiff’s choice of forum “should not be disturbed unless it is clearly
   outweighed by other considerations.” Robinson, 74 F.3d at 260. In this case, Florida is Plaintiffs’
   home forum and Plaintiffs’ choice of venue, which should not be disturbed. Therefore, this factor
   weighs against transferring venue.
                   g.               Trial efficiency and the interest of justice, based on the totality
                                    of the circumstances.

           When considering whether interest of justice favor venue transfer, courts evaluate “[a]ccess
   to evidence, availability of witness, the costs of obtaining witnesses, the possibility of a jury view,
   and all other practical problems that make trial of a case easy, expeditious and inexpensive.”
   Tommy Bahama Group, Inc. v. The Walking Co., U.S. Dist. LEXIS 83136, at *2 (N.D. GA 2007).
   As addressed above, this is a simple case for non-payment and default under a promissory note.
   The evidence should be accessible through electronic format and to the extent that witnesses are
   even necessary, potential witnesses are located in Florida, California, Colorado and Minnesota.
   Defendant admitted that it would have to subpoena many of its witnesses in California, which may
   also apply to witnesses located in Colorado and Minnesota. This sounds like theory rather than
   reality, as there are no defenses known to enforcement of the Note, and no witnesses for the defense
   have been shown to even theoretically be necessary. But if such witnesses were necessary or
   required, which is highly doubtful, Defendants’ witnesses in Colorado and Minnesota would be
   required to travel whether the case was in California or Florida or could testify electronically. But
   notwithstanding any of these at best minor considerations, Defendant’s performance under the
   Note occurred in Florida and Defendant failed to perform and breached the Note in Florida.
           Based on the foregoing reasons, the Court should deny Defendant’s Motion.

                                          IV.    CONCLUSION

           For the foregoing reasons, Defendant’s Motion to Dismiss for Lack of Jurisdiction,
   Improper Venue and, in the Alternative, to Transfer Venue must be denied and order Defendant to
   file a response to the Complaint without further delay. However, if the Court should determine it
   lacks jurisdiction and venue is proper in Central District of California, Plaintiffs respectfully
   request that the Court transfer the case to the Central District of California pursuant to 28 U.S.C.
   §1406 rather than dismissing the case.
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                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 27th day of September 2021, a true and correct copy of
   the foregoing was served through the District Court’s CM/ECF portal on all counsel of record on
   the Service List below.

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